Case 15-33321-JKS   Doc 52
                        Filed 07/13/16 Entered 07/13/16 16:38:17            Desc Main
                        Document     Page 1 of 3
 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR
 9004-1(b)
                                                       Order Filed on July 13, 2016 by
 FEIN, SUCH, KAHN & SHEPARD, P.C.                       Clerk U.S. Bankruptcy Court
                                                           District of New Jersey
 Counsellors at Law
 7 Century Drive - Suite 201
 Parsippany, New Jersey 07054
 (973) 538-9300
 Attorneys for Movant
 CITIMORTGAGE, INC.
 NICHOLAS V. ROGERS, ESQ.
 CC5190
 bankruptcy@feinsuch.com
 In Re:                                   Case No.:   15-33321 JKS
                                          Chapter:    13
 TED IHDE aka
 TED ULAN aka                             Hearing Date: June 23, 2016
 TED IHDE ULAN
                                          Judge: Honorable John K. Sherwood
  Debtor(s).




           Recommended Local Form:       : Followed   9 Modified


                 ORDER RESOLVING MOTION TO VACATE STAY
                        AND/OR MOTION TO DISMISS
                             WITH CONDITIONS

The relief set forth on the following pages, numbered two (2)
through four (4) is hereby ORDERED.



 DATED: July 13, 2016
Case 15-33321-JKS   Doc 52   Filed 07/13/16 Entered 07/13/16 16:38:17   Desc Main
                             Document     Page 2 of 3

 Applicant:                               CITIMORTGAGE, INC.
 Applicant's Counsel:                     Fein, Such, Kahn & Shepard, P.C.
 Debtor's Counsel:                        JOAN SIRKIS WARREN, ESQ.
 Property Involved (Collateral")          1410 NEOSHO STREET
                                          EMPORIA, KS 66801

Relief sought:          :    Motion for relief from the automatic stay

                        9    Motion to dismiss

                        9 Motion for prospective relief to prevent
                        imposition of automatic stay against the
                        collateral by debtor's future bankruptcy
                        filings


For good cause shown, it is ORDERED that Applicant's Motion(s) is
(are) resolved, subject to the following conditions:

1. Status of post-petition arrearages:

      : The Debtor is overdue for 2 months, from May, 2016 to
      June, 2016.

      : The Debtor is overdue for 2 payments at $596.61 per
      month with $484.86 in suspense.

      9 The Debtor is assessed for N/A late charges at $N/A per
      month.

      9 Applicant acknowledges receipt of funds in the amount of
      $N/A received after the motion was filed.

      Total Arrearages Due $708.36.

2. Debtor must cure all post-petition arrearages, as follows:

      9 Immediate payment shall be made in the amount of $N/A.
      Payment shall be made no later than N/A.

      : Beginning on July, 2016, regular monthly mortgage
      payments shall continue to be made in the amount of $596.61

      9 Beginning on N/A, additional monthly cure payments shall
      be made in the amount of $N/A for N/A months.

      9 The amount of $708.36 shall be capitalized in the
      Debtor's Chapter 13 plan. The Debtor's monthly payment to
      the Chapter 13 Trustee is modified to be $______________ per
      month.
Case 15-33321-JKS   Doc 52
                        Filed 07/13/16 Entered 07/13/16 16:38:17 Desc Main
                       Document      Page 3 of 3
3. Payments to the Secured Creditor shall be made to the
following address(es):

 9   Immediate payment:




 :   Regular monthly payment:        CITIMORTGAGE, INC.
                                     PO BOX 9001067
                                     LOUISVILLE, KY 40290-1067


 9   Monthly cure payment:




4. In the event of Default:


      : If the Debtor fails to make the immediate payment
      specified above or fails to make any regular monthly payment
      or the additional monthly cure payment within thirty (30)
      days of the date the payments are due, then the Secured
      Creditor may obtain an Order Vacating the Automatic Stay as
      to the Collateral by filing, with the Bankruptcy Court, a
      Certification specifying the Debtor's failure to comply with
      this Order. At the time the Certification is filed with the
      court, a copy of the Certification shall be sent to the
      Chapter 13 Trustee, the Debtor, and the Debtor's attorney.

      9 If the bankruptcy case is dismissed, or if the automatic
      stay is vacated, the filing of a new bankruptcy case will
      not act to impose the automatic stay against the Secured
      Creditor's opportunity to proceed against its Collateral
      without further Order of the Court.

5.    Award of Attorneys' Fees:

      : The Applicant is awarded attorneys fees of $350.00, and
      costs of $176.00.

           The fees and costs are payable:

           :   through the Chapter 13 plan.

           9   to the Secured Creditor within __________ days.

      9   Attorneys' fees are not awarded.
